                               Case 5:19-cv-00235-MAK Document 1 Filed 01/14/19 Page 1 of 26




          (a) PLAINTIFFS                                                                                      DEFENDANTS
         hanoon Sacco, lndMduelly and as Parent a                                                            Cedar Fair, L.P., Cedar Fair Management, Inc.. and
         .s.. a minor                        •                                                               Dorney Park, LLC


I         (b) Countyof'Jtesideneeof'fmtLtsledPI•                                                               County of Residct>cc ofFint L111ed Defendant
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                                                                        UNITED STATES DISTRICT COURT
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                                                            FOR THE EASTER.Iii DISTRICT OF PE.~SYLVANIA
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                                                        ·                   2742 Apple Road, Fogelsville, PA 18051
 Addrw of Plaintiff:__                                                          ---------------------
 Address ofDa!endant: _____......__                           2595 Interstate Drive, Suite 103, Harrisbu~~~~?~!~---------
· PlaccofAccident.r.ncidentorTranJtion: _ _ _Domey Park,                                           3~~0 Dorney Park R~ad,_Allentown, ~~-----
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         Pursuant lo Loe1l Civil R-·'153 2, § J(c) (2), that to the best of m)' knowled1e llld belie( the dtmaaes recoverable m this civil acllOn case
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                                  THE UNITED STATES DISTRICT COURT
                                    EASTERN DISTRICT OF PENNSYLVANIA

                       CASE MANA~EMENI TRACK DESIGNATION FORM
  Shannon Sacco. individually and as parent and
  natural guardian of M.S , a minor
                           V.
                                                           :      (Y
                                                                   10             CIVIL ACTION
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  Cedar Fair, LP, individually and d/b/a Dorney Park and
  Cedar Foram Management, Inc., and Dorney Park, LLG                              NO.
 In accordance with the Civil Justice Expense and Delay Reduction PJan of this court, counsel for
 plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
 filing the complaint and serve a copy on all defendants. (See§ 1:03 of the plan set forth on the reverse
 side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
 designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
 the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
 to which that defendant believes the case should be assigned.

 SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:

 (a) Habeas Corpus - Cases brought under 28 U.S.C. § 2241 through§ 2255.                            ( )
 (b) Social Security- Cases requesting review of a decision of the Secretary of Health
     and Human Services denying plaintiff Social Security Benefits.

 (c) Arbitration -Cases required to be designated for arbitration under Local Civil Rule 53.2.

(d) Asbestos - Cases involving claims for personal injury or property damage from
    exposure to asbestos.

(e) Special Management.=.,ase~ that do not fall into tracks (a) through (d) that are
    commonly referred to as complex and that need special or intense management by
    the court. (See reverse side of this form for a detailed explanation of special
    management cases.)                                                                              ( )
(t) Standard Management - Cases that do not fall into any one of the other tracks.                  ( )


                                       Diane M. Sodano, Esquire       Plaintiff
                                        Attorney-at-law                  Attorney for
 610-279-7000                          484-351-0355                     dsodano@ostroffiaw.com


Telephone                               FAX Number                       E-Mail Address


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